                  THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         CASE NO: 1:16-CR-205

UNITED STATES OF AMERICA,

                     Plaintiff,                 MEMORANDUM IN SUPPORT OF
                                               SHANNON DRAKE’S MOTION FOR
       v.                                        JUDGMENT OF ACQUITTAL
SHANNON MICHELLE DRAKE,                        PURSUANT TO FEDERAL RULE OF
                                                  CRIMINAL PROCEDURE 29
                     Defendant.


       COMES NOW Defendant Shannon Michelle Drake, through undersigned counsel,

and respectfully moves this Court to enter judgment of acquittal under Federal Rule of

Criminal Procedure 29 concerning all charges against Ms. Drake.

       A. Introduction

       The Government has presented a lot of evidence, but very little about Ms. Drake.

As alleged, there were three groups of factoring loans related to Greg Harrison’s staffing

business executed in or about 2004, 2008, and 2010 – dubbed Harrison 1.0, 2.0, and 3.0.

Various people made decisions about how and whether GrandSouth Bank would approve,

execute, and renew those loans, but Ms. Drake was not one of them. Various people

made decisions about what if anything to say about those loans on the bank’s books or to

regulators, but Ms. Drake was not one of them. She and her fellow account executives

shared a narrow but busy job to process the factoring lines of credit for a subset of these

loans as approved by their supervisor and GrandSouth Bank. There is plenty of evidence

that Ms. Drake and the other account executives performed this work as required and in




        Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 1 of 14
good faith – not to falsify records or deceive the bank. Thus far, that has been

Ms. Drake’s only relevance to this trial.

       This Court should enter a judgment of acquittal as to all counts against Ms. Drake

because “the evidence is insufficient to sustain a conviction.” Fed. R. Crim. Pro. 29(a).

“The test for deciding a motion for a judgment of acquittal is whether there is substantial

evidence (direct or circumstantial) which, taken in the light most favorable to the

prosecution, would warrant a jury finding that the defendant was guilty beyond a

reasonable doubt.” United States v. MacCloskey, 682 F.2d 468, 473 (4th Cir. 1982). The

Fourth Circuit has defined “‘substantial evidence’ as ‘evidence that a reasonable finder of

fact could accept as adequate and sufficient to support a conclusion of a defendant’s guilt

beyond a reasonable doubt.’” United States v. Smith, 451 F.3d 209, 216 (4th Cir. 2006)

(quoting United States v. Burgos, 94 F.3d 849, 862 (4th Cir. 1996)). Here, by contrast,

the Government’s evidence “demonstrates a lack of evidence from which a jury could

find guilt beyond a reasonable doubt” regarding Ms. Drake. Burgos, 94 F.3d at 862.

       B. The Government Failed to Present Sufficient Evidence that Ms. Drake

          Knew Enough to Perpetrate the Alleged Crimes

       According to the indictment, “[t]he practice of nominee lending is one in which a

bank makes loans to a nominal borrower for the benefit of a concealed third party not

included in the loan agreements” (Doc. No. 85 ¶ 30, emphasis added). Julia Pace testified

that so-called “nominee,” “straw,” or “indirect” loans would be where the actual

beneficiary was not included in the “loan documentation,” and so the loan officer would

need to designate them as “related” to the person’s other loans.


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        Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 2 of 14
       The Government has conceded that “[n]ominee or straw loans are not necessarily

illegal,” but asserted that “[n]ominee loans are illegal where ‘… the borrower and the

bank officer fail to state the real borrower and recipient of the funds, thereby obtaining

the loans by means of false pretenses’” (Doc. No. 425 at 7, quoting United States v.

Willis, 997 F.2d 407, 410 n.2 (8th Cir. 1993)). The Government further clarified that the

nominee lending alleged by the indictment was “for the purpose of extending credit to

[Greg Harrison]’s staffing business in contravention of the lending limits” of GrandSouth

Bank (Doc. No. 425 at 8-9).1

       Accordingly, to make out their case against Ms. Drake, the Government must

prove the following beyond a reasonable doubt with respect to her state of mind:

       1. That she knew Mr. Harrison’s staffing business to be the true borrower or

          beneficiary for the Harrison 2.0 factoring loans;

       2. That she knew the loan documentation did not include Mr. Harrison;

       3. That she intended to deceive GrandSouth Bank by concealing Mr. Harrison as

          the true borrower or beneficiary; and

       4. That she knew the purpose of circumventing the bank’s lending limits.

The Government failed to introduce evidence to prove the second, third, and fourth points

on this list regarding Ms. Drake.

       As far as the trial evidence shows, Ms. Drake’s knowledge of the Harrison 2.0

accounts was similar to that of Lesley Cannon. Doug Corriher testified that account


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 The Government has also alleged another purpose of avoiding payroll taxes, but
Ms. Drake was not charged in Count 28 relating to tax fraud.

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        Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 3 of 14
executives had been “cross-trained” on each other’s accounts, and Ms. Cannon testified

she and Ms. Drake “knew each other’s accounts inside and out,” including the

Harrison 2.0 accounts. It was common knowledge the Harrison 2.0 accounts were related

to Mr. Harrison’s staffing business, and there is no evidence that Ms. Drake, Ms. Cannon,

or any other account executive ever tried to conceal that fact.2

       Crucially, the Government also failed to present evidence that Ms. Drake was

familiar with the contents of the Harrison 2.0 loan documentation – including the

commercial loan memo, the factoring loan package, and the UCC-1 filings. To have

committed the alleged nominee lending, Ms. Drake needed to understand that

Mr. Harrison was not included in that loan documentation. However, the Government

failed to present evidence of that knowledge. For all she knew, Mr. Harrison might have

been the signed guarantor and Mr. Corriher might have filed a UCC-1 notice for CMI and

CMI of Iowa. There was no evidence Ms. Drake knew the significance of such issues,

much less was familiar with the particular loan documentation.

       Finally, there is no evidence that Mr. Corriher or anyone talked to Ms. Drake

about any purpose to circumvent the lending limits of GrandSouth Bank. What is more,

there has been no evidence that Ms. Drake even understood that a bank has lending limits

or how they worked – before seeing them explained in the indictment, anyway (see Doc.

No. 85 ¶¶ 21 et seq.). The evidentiary record gives no reason why Ms. Drake would have


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  Indeed, this appears to have been common knowledge throughout GrandSouth Bank.
Mr. Harrison’s signature appears front-and-center on the wire request form for the
Harrison 2.0 clients, and the operations department even created a recurring wire for
these clients entitled “GrandSouth Bank for Greg Harrison.”

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        Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 4 of 14
known anything about that topic, given that none of her work in the factoring department

involved the bank’s lending limits.3 Thus, the Government also failed to provide

sufficient evidence to prove that Ms. Drake ever intended or conspired to help

Mr. Harrison circumvent the lending limits of GrandSouth Bank.

      C. The Alleged Fraud and False Pretenses Were Independent of and Prior to

          Ms. Drake’s Assignment to the Harrison 2.0 Accounts

      In the timeline of events for this trial, Ms. Drake’s name comes up for the very

first time on January 16, 2009, the day when Mr. Corriher assigned her to work on the

Harrison 2.0 clients. According to the evidence, then, Ms. Drake had no involvement

with anything related to this case before January 16, 2009. That means she had no

involvement of any kind with the following for Harrison 2.0:

       Loan proposals dated July 10, 2008;

       Commercial loan memos on July 25, 2008, and all supporting paperwork;

       Loan package documents signed on July 29, 2008, including the factoring

          agreements, personal guaranties, and letters allowing Global Labor to request

          and receive funds under the factoring agreements;

       Recording of loan documents on the bank’s books, including the decision not

          to make them “related to” Mr. Harrison, and creation of associated loan

          numbers and deposit accounts;



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 To be clear, there is evidence that account executives would check compliance with
“credit limits” for debtors based on the limits established by Mr. Corriher in Factor/SQL,
but that is something completely different from the concept of a bank’s lending limits.

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        Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 5 of 14
        UCC-1 security notices filed in December 2008, including the decision not to

          file UCC-1 security notices for CMI and CMI of Iowa;

        Mr. Corriher’s creation of the advance sheets and modified wire request form

          that would be used for the licensee company factoring accounts;

        Mr. Corriher’s email on January 2, 2009, telling Ms. Akers to divide up their

          customer list among this group of factoring client accounts;

        Mr. Corriher’s creation of client profiles in Factor/SQL, upload of the lists of

          divided-up debtors, and establishment of debtor credit limits; and

        Mr. Corriher’s upload of initial invoice spreadsheets from Ms. Akers to fund

          the wire transfer of $3,281,362.30 to US Funding.

       Accordingly, the fraud and false pretenses that have been alleged were all

executed and set in motion prior to Ms. Drake having any involvement with Harrison 2.0.

In particular, the debtors were already divided up among the licensee company clients,

and Mr. Corriher already arranged the Factor/SQL, advance sheet, and modified wire

request form so that lists of alleged CMI invoices provided by Ms. Akers and her staff

would be factored under the licensee company names, and then advances would be sent

to Global Labor’s bank account. This was the crux of the Government’s alleged false

pretenses by Ms. Drake, but as the evidence at trial has now made clear, it was all

arranged entirely without her.4


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 Indeed, the Government’s trial brief makes only one mention of Ms. Drake actually
doing something: “Corriher and Drake established an elaborate system at the bank by
which thousands of payments made out to CMI were applied to the loan accounts in the
names of the five nominees. They also set up a system whereby the proceeds of the loans

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        Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 6 of 14
      D. Ms. Drake Merely Did Her Job as Required

      The factoring department’s procedures provided that, once Mr. Corriher finishes

setting up everything, “[e]ach client account is assigned to an account manager who is

responsible for maintaining the account as approved” (Gov. Ex. 1285). Ms. Drake was

assigned that job for the Harrison 2.0 accounts on January 16, 2009, and thereafter

became obligated to perform the work as directed by Mr. Corriher. The testimony of

Cyndy Ayers summed it up well: “Thank God it wasn’t my account or, that I didn’t have

to deal with it.” The Government’s evidence has revealed nothing about Ms. Drake’s

conduct or intent beyond what Mr. Corriher stated on cross: “she did her job.”

      Furthermore, the evidence shows that, when Ms. Drake frequently missed work

because of her migraines, her absence actually made no difference to the Harrison 2.0

factoring. Other account executives, including Lesley Cannon and Blake Timanus,

stepped in to do the same work in the same manner that Mr. Corriher had directed.

Accordingly, Ms. Drake was not essential to the Harrison 2.0 factoring.

      Indeed, four out of the twelve wire transfers to Global Labor charged as separate

offenses in Counts 3 to 14 and 16 to 27 were clearly handled by somebody else from the

factoring department other than Ms. Drake:




made to the nominees were combined to fund wire transfers to an account controlled by
BGH.” (Doc. No. 425 at 10, emphasis added.) Were it to be true, this claim about
Ms. Drake might distinguish her somewhat from Lesley Cannon and the many others
who worked on Harrison 2.0 but were not charged. However, the evidence presented by
the Government has failed to make good on that promise.

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        Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 7 of 14
      Gov’t Ex.      Date        Amount      Counts      Employee Taking Request
        1109       2/17/2009    $125,000     3 & 16            Doug Corriher
         893        3/2/2009    $130,000     4 & 17            Doug Corriher
        1206      12/10/2009    $449,000     10 & 23          Lesley Cannon
        1220       2/25/2010    $270,000     11 & 24          Lesley Cannon

       As a whole, the evidence makes clear that Ms. Drake was just another one of the

employees in the factoring department whom Mr. Corriher was free to direct as he

pleased to handle the administrative side of factoring. There is no evidence that any of

these employees, including Ms. Drake, ever intended to falsify records or join a criminal

conspiracy by doing such work for the Harrison 2.0 accounts. On this record, “[i]t would

require pure conjecture on the part of the jury to find that a conspiracy” to misapply funds

or falsify bank records existed for Ms. Drake, “and that she knowingly and voluntarily

participated in it.” MacCloskey, 682 F.2d at 473.

       E. Count 29 Remains a Flawed and Unproven Theory

       In Count 29, the Government has charged a separate conspiracy as to Ms. Drake

and Robert Taylor. Per the Government’s argument, the theory is that GrandSouth Bank

applied money obtained from new factoring advances in order to pay off old uncollectible

invoices, and that there is something wrong with that. This idea sprang from the mind of

Special Agent Donna Hench and is summed up by her demonstrative.

       Special Agent Hench’s testimony focused on whether it was the same money

obtained from factoring advances on April 8, 2009, that was used to pay off “over-90-

day” invoices which had piled up because of errors in the transition of the factoring from



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        Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 8 of 14
US Funding to GrandSouth Bank. There are plenty of gaps with her analysis and

speculation in the proposed inference of “circular lending.” They are detailed in

Mr. Taylor’s motion to exclude Special Agent Hench’s testimony (Doc. No. 437) and

associated oral argument, which Ms. Drake also joined.

       Separately, however, the Government also makes a basic assumption that it would

be fraudulent for a bank’s factoring client to pay off uncollectible “over-90-day” invoices

with proceeds of factoring advances made on new “under-90-day” invoices. This has

been equated by the Government to a bank client obtaining a new loan to pay off another

older loan and thereby misrepresent the age of his debt – that is to say, circular lending.

However, that basic assumption is unsupported by the evidence and is inconsistent with

the terms and conditions of the factoring agreements.

       As previously mentioned, there is no evidence that Ms. Drake herself was familiar

with the contents of the factoring agreements in this case, much less the nuances of their

terms and conditions. Nonetheless it is important to bear them in mind for purposes of

assessing the Government’s theory to support Count 29 (see, e.g., Gov. Ex. 619):

        “Seller” refers to the factoring client, “Purchaser” refers to the bank,

          “Account” refers in general to a Seller’s invoice or account receivable.

        Section 2.1.2 provides that “Seller shall sell to Purchaser … such of Seller’s

          Accounts as are listed from time to time on Accounts Transmittal,” meaning

          the spreadsheet of invoices to be factored, for their “Face Amount” minus 15%

          thereof and any applicable fees.




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        Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 9 of 14
        “Purchased Account” refers to an Account that has been factored, and “Late

          Payment Date” means “90 … days from the date on which a Purchased

          Account was created” – that is, when it was factored by the bank.

        Section 4.1.3 provides that “Purchaser may require that Seller repurchase, by

          payment of the unpaid Face Amount thereof together with any unpaid fees

          relating to the Purchased Account on demand, or, at Purchaser’s option, by

          Purchaser’s charge to the Reserve Account: … any Purchased Account which

          remains unpaid beyond the Late Payment Date.”

       Accordingly, the terms of the factoring agreement specifically provide that

GrandSouth Bank may require a factoring client to buy out “over-90-day” invoices by

paying the amount of money owed by the debtor. Thus, there is nothing fraudulent or

even unusual about GrandSouth Bank requiring a factoring client to pay off invoices that

became uncollectible. The only remaining issue for the Government’s theory would be

whether the client may do this using funds that it obtained from factoring advances based

on newer receivables. This approach might seem a little unusual, but there is no reason

why it must be fraudulent.5 The new funds were obtained by factoring a different group

of newer receivables which are still collectible – not the same group of older invoices that

are considered uncollectible. Thus, it is not “circular lending” as alleged.




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  Presumably, Mr. Harrison simultaneously recouped the money from US Funding, since
they had caused the issue by failing to forward debtor payments to GrandSouth Bank.
The Government has failed to explain either way, but its flawed theory of circular lending
would not result in Mr. Harrison getting any more money.

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       Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 10 of 14
       WHEREFORE, for the reasons discussed above and at any hearing on this motion,

this Court should enter a judgment of acquittal on all counts as to Ms. Drake.



       Respectfully submitted this the 28th day of January, 2019.

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                                            11


       Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 11 of 14
                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 28th day of January, 2019, a copy of the foregoing Motion

for Judgment of Acquittal was filed with the Clerk of Court using the CM/ECF System, which

will send notification of such filing to the following:


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                                                 12


        Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 12 of 14
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                              13


Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 13 of 14
                      CERTIFICATION OF WORD COUNT



I hereby certify the word count is 2758 words.



                                              Claire J. Rauscher
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                                         14


       Case 1:16-cr-00205-WO Document 470 Filed 01/28/19 Page 14 of 14
